      Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 1 of 15 PageID #:1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

VINCENT FOGGEY,                                )
                                               )
               Plaintiff,                      )
                                               )      No. 16 cv 10963
       v.                                      )
                                               )
CITY OF CHICAGO POLICE                         )
DEPARMENT, CITY OF CHICAGO                     )
POLICE BOARD, and                              )
SUPERINTENDENT OF CHICAGO                      )      JURY TRIAL DEMANDED
POLICE,                                        )
                                               )
               Defendants.                     )

                             COMPLAINT AND JURY DEMAND

       Plaintiff, Vincent Foggey (“Plaintiff”), through his attorneys, complains against

Defendants City of Chicago Police Department, City of Chicago Police Board and Superintendent

of Chicago Police (collectively, “Defendants”), as follows:

                                   NATURE OF THE ACTION

       1.      This is an action under Title VII of the Civil Rights Act of 1964, as amended, 42

U.S.C. § 2000e et seq. (“Title VII”), and Title I of the Civil Rights Act of 1991, for unlawful

employment practices on the basis of race and gender, to provide appropriate relief to Plaintiff, a

former employee of Defendants who was adversely affected by such practices. Plaintiff alleges

that Defendants subjected him to different terms and conditions of employment because of his race

and gender. Plaintiff further alleges that after he engaged in lawful and protected activity of

reporting the discrimination, Defendants retaliated against Plaintiff by subjecting him to different

terms and conditions of employment, and discharged him from employment. Plaintiff further

alleges that these actions deprived him of certain civil rights to which he was entitled, in violation
      Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 2 of 15 PageID #:2



of Section 1981 of the Civil Rights Act of 1866, 42 U.S.C. § 1981, and Section 1983 of the Civil

Rights Act of 1871, 42 U.S.C. § 1983.

                                     JURISDICTION AND VENUE

        2.         Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3).

This action is authorized and instituted pursuant to 42 U.S.C. § 2000e-5(f)(1), 42 U.S.C. § 1981a,

and 42 U.S.C. § 1988.

        3.         Venue is proper in this Court because the discrimination and retaliation practices

hereafter alleged to be unlawful were committed within the jurisdiction of this District.

                                                PARTIES

        4.         Plaintiff is an individual and a resident and citizen of the City of Chicago, in Cook

County, Illinois; and Defendants’ records of Plaintiff’s employment reflect Plaintiff’s residency

and citizenship. Plaintiff was employed by Defendant City of Chicago Police Department as a

police officer.

        5.         Defendant City of Chicago Police Department is the law enforcement agency of the

City of Chicago, Illinois.

        6.         Defendant City of Chicago Police Board is charged with the responsibility of

hearing and deciding charges filed by the Superintendent of Police seeking disciplinary measures

against City of Chicago police officers.

        7.         Defendant Superintendent of Chicago Police leads the Chicago Police Department

and his duties include, among other things, filing charges seeking disciplinary measures against

police officers.

        8.         At all times relevant, each Defendant has been an “employer” of Plaintiff within

the meaning of Title VII, 42 U.S.C. § 2000e(b).



                                                     2
      Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 3 of 15 PageID #:3



       9.      At all times relevant, Plaintiff has been an “employee” of Defendants within the

meaning of Title VII, 42 U.S.C. § 2000e(f).

                             FACTS COMMON TO ALL COUNTS

       10.     Since at least September 18, 2014, Defendants have engaged in unlawful

employment practices in violation of Title VII, 42 U.S.C. §§ 2000-e(2) and 2000-e(3), and have

engaged in unlawful discrimination and deprivation of civil rights in violation of 42 U.S.C. §§

1981 and 1983. Such unlawful practices have included: (1) discriminating against and subjecting

Plaintiff to different terms and conditions of employment because of his race and gender; (2)

retaliating against Plaintiff by subjecting him to different terms and conditions of employment and

discharging him in violation of Title VII because he complained about discrimination by his

employer; and (3) depriving Plaintiff of civil rights including employment.

       11.     In approximately March 2006, Plaintiff began his employment with the Chicago

Police Department as a Police Officer.

       12.     On approximately September 18, 2014, Plaintiff was on duty and an incident arose

at a Walgreens store located at 7109 S. Jeffrey Boulevard in Chicago, Illinois.

       13.     Defendants accused Plaintiff of failing to properly assist his partner in responding

to that incident. Plaintiff at all times has maintained and continues to maintain that he responded

properly and in accordance with his duties. In particular, Plaintiff responded to his partner’s

request to assist with the incident, he physically assisted in controlling the subject, gave

appropriate verbal commands, and deescalated the situation until the subject was in custody.

       14.     On approximately September 24, 2014, on the Plaintiff’s second attempt, Plaintiff

filed an official complaint with the Chicago Police Department Bureau of Internal Affairs against




                                                3
      Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 4 of 15 PageID #:4



three Chicago Police sergeants alleging misconduct and violation of department policies and

procedures in connection with the Defendants’ investigation of the September 18, 2014 incident.

       15.     At all times relevant, Defendants failed to follow proper protocol and procedures

in investigating the official complaint Plaintiff filed, and instead took actions to cause bias against

Plaintiff by certain of his peers and superiors.

       16.     On approximately September 24, 2014, Defendants issued Plaintiff a notification

of duty restrictions purportedly arising from the incident, and Plaintiff was stripped of his duties

and reassigned to a lesser position.

       17.     On approximately June 26, 2015, Defendants issued a thirty (30) day suspension

without pay to Plaintiff for purportedly violating Chicago Police Department rules relating to the

incident. Plaintiff’s suspension began on July 16, 2015.

       18.     On approximately June 29, 2015, Defendant Superintendent of Police filed with

Defendant City of Chicago Police Board charges against Plaintiff in connection with the incident,

and recommended that Plaintiff be discharged for purportedly violating Chicago Police

Department rules relating to the incident.

       19.     On approximately December 21, 2015, Plaintiff filed a Charge of Discrimination

against Defendants with the Illinois Department of Human Rights, charge no. 2016 CF 1291,

alleging that Defendants discriminated against him on the basis of race and gender in regard to his

July 2015 suspension. Specifically, Plaintiff alleged that similarly situated non-black and/or

female police officers were not suspended without pay under similar circumstances. Plaintiff’s

Charge was cross-filed with the Equal Employment Opportunity Commission (“EEOC”), no.

21B201600421 (Exhibit 1).




                                                   4
      Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 5 of 15 PageID #:5



       20.     On approximately March 10, 2016, Defendant City of Chicago Police Department

filed its Response to Plaintiff’s Charge of Discrimination, denying Plaintiff’s allegations.

       21.     On approximately March 17, 2016, Defendant City of Chicago Police Board issued

its Findings and Decision that Plaintiff be discharged from his position as a police officer with the

City of Chicago Police Department.

       22.     On approximately March 28, 2016, Defendants terminated Plaintiff’s employment

in retaliation for his complaints and charges of discrimination, and in retaliation for reporting

official and reckless misconduct of three Chicago Police sergeants.

       23.     The effect of the practices complained of above has been to deprive Plaintiff of

equal employment opportunities, civil rights, and to otherwise adversely affect his status as an

employee because of his race and his gender.

       24.     The unlawful practices complained of above were intentional.

       25.     The unlawful practices complained of above were done with malice or with reckless

indifference to the federally protected rights of Plaintiff because of his race and his gender.

       26.     The unlawful practices complained of above have caused Plaintiff to suffer

damages including, but not limited to, lost wages, deprivation of civil rights, pain and suffering.

       27.     In approximately April 2016, Plaintiff filed a Second Charge of Discrimination

against Defendants with the EEOC, charge no. 21B20161547, alleging discrimination and

retaliation by Defendants for engaging in the protected activities of filing his first Charge of

Discrimination in December 2015 and reporting the official misconduct of three Chicago Police

sergeants. (Exhibit 2).

       28.     On approximately June 7, 2016, Plaintiff filed a Complainant Information Sheet

with the Illinois Department of Human Rights, alleging that he was wrongfully terminated in



                                                  5
      Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 6 of 15 PageID #:6



retaliation for engaging in the protected activities of filing his first Charge of Discrimination in

December 2015 and reporting the official misconduct of three Chicago Police sergeants. On

approximately June 20, Plaintiff filed a Second Charge of Discrimination against Defendants with

the Illinois Department of Human Rights, charge no. 2016 CF 2986, alleging discrimination and

retaliation by Defendants.

       29.     Plaintiff was issued a Right to Sue Letters from the U.S. Department of Justice on

approximately September 2, 2016 relating to both of his Charges of Discrimination (Exhibit 3).

Plaintiff has timely filed this lawsuit within ninety (90) days of the receipt of the Letters.

                                             COUNT I
                      Violation of Title VII – Discrimination Based on Race

       30.     Plaintiff realleges and incorporates by reference Paragraphs 1 through 29 as

Paragraph 30 of this Count I.

       31.     At all times relevant, there was in effect a federal statute, the Civil Rights Act of

1964, as amended, 42 U.S.C. § 2000e et seq., which provides:

       It shall be an unlawful employment practice for an employer –

       (1) to fail or refuse to hire or discharge any individual, or otherwise to discriminate against
           any individual with respect to his compensation, terms, conditions, or privileges of
           employment, because of such individual’s race, color, religion, sex, or national origin;
           or
       (2) to limit, segregate, or classify his employees or applicants for employment in any way
           which would deprive or tend to deprive any individual of employment opportunities or
           otherwise adversely affect his status as an employee, because of such individual’s race,
           color, religion, sex or national origin.

42 U.S.C. § 2000e-2(a).

       32.     Defendants were aware, or should have been aware, of Title VII and that it is illegal

to treat an employee differently and/or terminate an employee’s employment because of the

employee’s race.



                                                   6
      Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 7 of 15 PageID #:7



        33.      During Plaintiff’s employment with Defendants, he was subjected to acts of

discrimination by Defendants’ employees, supervisors, and board members.

        34.      This illegal race discrimination created a hostile and abusive work environment for

Plaintiff.

        35.      Defendants’ actions as set forth above were willful, intentional and/or made in

reckless disregard of Plaintiff’s rights.

        36.      Defendants’ conduct as described above constitutes a willful violation of Title VII.

        WHEREFORE, Plaintiff prays for an order entering judgment against Defendants, and

awarding Plaintiff the following relief:

              a. Back pay relating to the during the 30-day period of time where Plaintiff was

                 suspended without pay, beginning on approximately July 16, 2015;

              b. Back pay from March 28, 2016 through the date of judgment, for all amounts

                 Plaintiff would have earned had Plaintiff been paid his full salary for all time

                 normally worked, to which Plaintiff would have been entitled had he remained

                 employed by Defendants through the date of judgment;

              c. Front pay;

              d. Compensatory damages for emotional pain, suffering, inconvenience, mental

                 anguish, and future pecuniary loss;

              e. Costs and reasonable attorneys’ fees incurred;

              f. Pre- and post-judgment interest on all amounts awarded under (a), (b), and (d)

                 above;

              g. Punitive damages in an amount which will serve to punish and deter Defendants

                 and to deter others from such acts in the future; and



                                                   7
      Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 8 of 15 PageID #:8



              h. Such further legal and equitable relief as this Court deems proper and just.

                                               COUNT II
                       Violation of Title VII – Discrimination Based on Gender

        37.      Plaintiff realleges and incorporates by reference Paragraphs 1 through 29 as

Paragraph 37 of this Count II.

        38.      At all times relevant, there was in effect a federal statute, the Civil Rights Act of

1964, as amended, 42 U.S.C. § 2000e et seq., which provides:

        It shall be an unlawful employment practice for an employer –

        (3) to fail or refuse to hire or discharge any individual, or otherwise to discriminate against
            any individual with respect to his compensation, terms, conditions, or privileges of
            employment, because of such individual’s race, color, religion, sex, or national origin;
            or
        (4) to limit, segregate, or classify his employees or applicants for employment in any way
            which would deprive or tend to deprive any individual of employment opportunities or
            otherwise adversely affect his status as an employee, because of such individual’s race,
            color, religion, sex or national origin.

42 U.S.C. § 2000e-2(a).

        39.      Defendants were aware, or should have been aware, of Title VII and that it is illegal

to treat an employee differently and/or terminate an employee’s employment because of the

employee’s gender.

        40.      During Plaintiff’s employment with Defendants, he was subjected to acts of

discrimination by Defendants’ employees, supervisors, and board members.

        41.      This illegal gender discrimination created a hostile and abusive work environment

for Plaintiff.

        42.      Defendants’ actions as set forth above were willful, intentional and/or made in

reckless disregard of Plaintiff’s rights.

        43.      Defendants’ conduct as described above constitutes a willful violation of Title VII.



                                                   8
      Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 9 of 15 PageID #:9



       WHEREFORE, Plaintiff prays for an order entering judgment against Defendants, and

awarding Plaintiff the following relief:

             a. Back pay relating to the during the 30-day period of time where Plaintiff was

                suspended without pay, beginning on approximately July 16, 2015;

             b. Back pay from March 28, 2016 through the date of judgment, for all amounts

                Plaintiff would have earned had Plaintiff been paid his full salary for all time

                normally worked, to which Plaintiff would have been entitled had he remained

                employed by Defendants through the date of judgment;

             c. Front pay;

             d. Compensatory damages for emotional pain, suffering, inconvenience, mental

                anguish, and future pecuniary loss;

             e. Costs and reasonable attorneys’ fees incurred;

             f. Pre- and post-judgment interest on all amounts awarded under (a), (b), and (d)

                above;

             g. Punitive damages in an amount which will serve to punish and deter Defendants

                and to deter others from such acts in the future; and

             h. Such further legal and equitable relief as this Court deems proper and just.

                                              COUNT III
                             Violation of Title VII – Unlawful Retaliation

       44.      Plaintiff realleges and incorporates by reference Paragraphs 1 through 29 as

Paragraph 44 of this Count III.

       45.      At all times relevant, there was in effect a certain federal statute, Title VII, which

provides,




                                                  9
    Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 10 of 15 PageID #:10



        It shall be an unlawful employment practice for an employer to discriminate against any of
        its employees … because he has opposed any practice made an unlawful employment
        practice by this subchapter, or because he has made a charge, testified, assisted, or
        participated in any manner in an investigation, proceeding or hearing under this subchapter.

42 U.S.C. § 2000e-3(a).

        46.      Defendants were aware, or should have been aware, of Title VII and that it is illegal

to treat an employee differently and/or terminate an employee’s employment because of the

employee’s race and/or gender.

        47.      Plaintiff filed a complaint against certain Chicago Police sergeants directly

involved in the investigation of the incident at issue, and filed a formal Charge of Discrimination

against Defendants regarding the illegal discrimination that he was suffering at the hands of

Defendants, which resulted in a hostile work environment.

        48.      Shortly after Plaintiff’s last complaint of discrimination, Defendants terminated

Plaintiff’s employment, either in whole or in part, because of his gender, and in retaliation for his

complaints against Defendants.

        49.      Defendants’ conduct as set forth above is so harmful it would dissuade a reasonable

worker from filing a discrimination complaint.

        50.      Defendants’ actions as set forth above were willful, intentional, and/or made in

reckless disregard of Plaintiff’s rights.

        51.      Defendants’ conduct as described above constitutes a willful violation of Title VII.

        WHEREFORE, Plaintiff prays for an order entering judgment against Defendants, and

awarding Plaintiff the following relief:

              a. Back pay relating to the during the 30-day period of time where Plaintiff was

                 suspended without pay, beginning on approximately July 16, 2015;




                                                  10
    Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 11 of 15 PageID #:11



             b. Back pay from March 28, 2016 through the date of judgment, for all amounts

                Plaintiff would have earned had Plaintiff been paid his full salary for all time

                normally worked, to which Plaintiff would have been entitled had he remained

                employed by Defendants through the date of judgment;

             c. Front pay;

             d. Compensatory damages for emotional pain, suffering, inconvenience, mental

                anguish, and future pecuniary loss;

             e. Costs and reasonable attorneys’ fees incurred;

             f. Pre- and post-judgment interest on all amounts awarded under (a), (b), and (d)

                above;

             g. Punitive damages in an amount which will serve to punish and deter Defendants

                and to deter others from such acts in the future; and

             h. Such further legal and equitable relief as this Court deems proper and just.

                                            COUNT IV
                                   Violation of 42 U.S.C. § 1981

       52.      Plaintiff realleges and incorporates by reference Paragraphs 1 through 29 as

Paragraph 52 of this Count IV.

       53.      At all times relevant, there was in effect a federal statute, Section 1981 of the Civil

Rights Act of 1866, 42 U.S.C. § 1981, which provides:

       All persons within the jurisdiction of the United States shall have the same right in
       every State and Territory to make and enforce contracts, to sue, be parties, give
       evidence, and to the full and equal benefit of all laws and proceedings for the
       security of persons and property as is enjoyed by white citizens, and shall be subject
       to like punishment, pains, penalties, taxes, licenses, and exactions of every kind,
       and to no other.




                                                  11
     Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 12 of 15 PageID #:12



        54.      Defendants were aware, or should have been aware, of Section 1981 and that it is

illegal to treat a citizen and employee differently and/or terminate an employee’s employment

because of the employee’s race.

        55.      During Plaintiff’s employment with Defendants, he was subjected to acts of

discrimination by Defendants’ employees, supervisors, and board members.

        56.      This illegal race discrimination created a hostile and abusive work environment for

Plaintiff.

        57.      Defendants’ actions as set forth above were willful, intentional and/or made in

reckless disregard of Plaintiff’s rights.

        58.      Defendants’ conduct as described above constitutes a willful violation of Section

1981.

        WHEREFORE, Plaintiff prays for an order entering judgment against Defendants, and

awarding Plaintiff the following relief:

              a. Back pay relating to the during the 30-day period of time where Plaintiff was

                 suspended without pay, beginning on approximately July 16, 2015;

              b. Back pay from March 28, 2016 through the date of judgment, for all amounts

                 Plaintiff would have earned had Plaintiff been paid his full salary for all time

                 normally worked, to which Plaintiff would have been entitled had he remained

                 employed by Defendants through the date of judgment;

              c. Front pay;

              d. Compensatory damages for emotional pain, suffering, inconvenience, mental

                 anguish, and future pecuniary loss;

              e. Costs and reasonable attorneys’ fees incurred;



                                                 12
     Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 13 of 15 PageID #:13



              f. Pre- and post-judgment interest on all amounts awarded under (a), (b) and (d)

                 above;

              g. Punitive damages in an amount which will serve to punish and deter Defendants

                 and to deter others from such acts in the future; and

              h. Such further legal and equitable relief as this Court deems proper and just.

                                             COUNT V
                                    Violation of 42 U.S.C. § 1983

        59.      Plaintiff realleges and incorporates by reference Paragraphs 1 through 29 as

Paragraph 59 of this Count V.

        60.      At all times relevant, there was in effect a certain federal statute, Section 1983 of

the Civil Rights Act of 1871, 42 U.S.C. § 1983, which provides, in relevant part:

        Every person who, under color of any statute, ordinance, regulation, custom, or usage, of
        any State or Territory or the District of Columbia, subjects, or causes to be subjected, any
        citizen of the United States or other person within the jurisdiction thereof to the deprivation
        of any rights, privileges, or immunities secured by the Constitution and laws, shall be liable
        to the party injured in an action at law, suit in equity, or other proper proceeding for
        redress….

        61.      Defendants were aware, or should have been aware, of Section 1983 and that it is

illegal to deprive a citizen and employee of civil rights without due process and due to the

employee’s race, gender, or the employee’s exercise of protected conduct to enforce his or her

civil rights.

        62.      Plaintiff filed a complaint against certain officers, and filed a formal Charge of

Discrimination against Defendants regarding the illegal discrimination that he was suffering at the

hands of Defendants, which resulted in a hostile work environment.




                                                  13
    Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 14 of 15 PageID #:14



        63.      Shortly after Plaintiff’s last complaint of discrimination, Defendants terminated

Plaintiff’s employment, either in whole or in part, because of his race and/or gender, and in

retaliation for his complaints against Defendants.

        64.      Defendants’ actions as set forth above caused Plaintiff to be deprived of his civil

rights without due process.

        65.      Defendants’ actions as set forth above were willful, intentional, and/or made in

reckless disregard of Plaintiff’s rights.

        66.      Defendants’ conduct as described above constitutes a willful violation of Section

1983.

        WHEREFORE, Plaintiff prays for an order entering judgment against Defendants, and

awarding Plaintiff the following relief:

              a. Back pay relating to the during the 30-day period of time where Plaintiff was

                 suspended without pay, beginning on approximately July 16, 2015;

              b. Back pay from March 28, 2016 through the date of judgment, for all amounts

                 Plaintiff would have earned had Plaintiff been paid his full salary for all time

                 normally worked, to which Plaintiff would have been entitled had he remained

                 employed by Defendants through the date of judgment;

              c. Front pay;

              d. Compensatory damages for emotional pain, suffering, inconvenience, mental

                 anguish, and future pecuniary loss;

              e. Costs and reasonable attorneys’ fees incurred;

              f. Pre- and post-judgment interest on all amounts awarded under (a), (b) and (d)

                 above;



                                                 14
    Case: 1:16-cv-10963 Document #: 1 Filed: 11/30/16 Page 15 of 15 PageID #:15



          g. Punitive damages in an amount which will serve to punish and deter Defendants

             and to deter others from such acts in the future; and

          h. Such further legal and equitable relief as this Court deems proper and just.


                                            Respectfully submitted,

                                            VINCENT FOGGEY

                                            /s/ James X. Bormes
                                            Attorney for Plaintiff


James X. Bormes                             Leonard Mungo
Law Office of James X. Bormes, P.C.         The Mungo Law Firm, PLC
8 South Michigan Avenue                     333 W. Ford Street
Suite 2600                                  Suite 1500
Chicago, Illinois 60603                     Detroit, MI 48226
(312) 201-0575                              (313) 963-0407
jxbormes@bormeslaw.com                      MungoL16@msn.com




                                              15
